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13                                 UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF CALIFORNIA
14                                    SAN FRANCISCO DIVISION
15

16
     FEDERAL TRADE COMMISSION,
17
                    Plaintiff,                      Case No. 3:23-cv-2880
18
            v.
19                                                  DECLARATION OF JENNIFER FLEURY
     MICROSOFT CORP.                                IN SUPPORT OF PLAINTIFF FEDERAL
20                                                  TRADE COMMISSION’S EMERGENCY
     and                                            MOTION FOR TEMPORARY
21                                                  RESTRAINING ORDER PURSUANT TO
     ACTIVISION BLIZZARD, INC.,                     FEDERAL TRADE COMMISSION ACT §
22                                                  13(B)
                    Defendants.
23                                                  REDACTED VERSION OF DOCUMENT
                                                    SOUGHT TO BE SEALED
24

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     FLEURY DECL. IN SUPPORT OF PLAINTIFF’S EMERGENCY MOT. FOR A TEMP. RESTRAINING ORDER
     Case No. 3:23-cv-2880
                   Case 3:23-cv-02880-VC Document 10 Filed 06/12/23 Page 2 of 5




1                               DECLARATION OF JENNIFER FLEURY

2       I, Jennifer Fleury, declare as follows:

3             1.      I am one of the attorneys representing Plaintiff Federal Trade Commission (the

4    “FTC” or “Commission”) in the above-captioned action against Defendants Microsoft

5    Corporation (“Microsoft”) and Activision Blizzard, Inc. (“Activision”).

6             2.      I submit this declaration in support of Plaintiff FTC’s Emergency Motion for a

7    Temporary Restraining Order Pursuant to Federal Trade Commission Act § 13(b) in the above-

8    captioned action. I have personal knowledge of the facts stated herein and could and would

9    competently testify thereto if called as a witness.

10            3.      Attached as Exhibit A is a true and correct copy of an excerpt of the transcript of

11   the investigational hearing of Microsoft Gaming CEO Phil Spencer, dated October 11, 2022.

12            4.      Attached as Exhibit B is a true and correct copy of an excerpt of the transcript of

13   the deposition of Microsoft Gaming CEO Phil Spencer, dated March 8, 2022.

14            5.      Attached as Exhibit C is a true and correct copy of the Expert Report of Dr. Robin

15   S. Lee, Ph. D., dated May 26, 2023, which was served in In re Microsoft Corp. & Activision

16   Blizzard, Inc., Docket No. 9412 (FTC).

17            6.      Attached as Exhibit D is a true and correct copy of an MLex article dated June 1,

18   2023, titled “Microsoft is exploring options to close Activision deal despite UK block.”

19            7.      Attached as Exhibit E is a true and correct copy of a Summary of Application for

20   Microsoft’s appeal of the UK CMA’s April 26, 2023 findings.

21            8.      Attached as Exhibit F are true and correct copies of the January 4, 2023

22   Scheduling Order and the May 12, 2023 Order Granting Joint Motion for the First Revised

23   Scheduling Order entered in In re Microsoft Corp. & Activision Blizzard, Inc., Docket No. 9412

24   (FTC).

25            9.      Attached as Exhibit G are true and correct copies of the May 5, 2023 UK CMA

26   Interim Order on the anticipated acquisition by Microsoft Corporation of Activision Blizzard,

27   Inc.; May 18, 2023 Notice of the proposed Final Order on the anticipated acquisition by

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     FLEURY DECL. IN SUPPORT OF PLAINTIFF’S EMERGENCY MOT. FOR A TEMP. RESTRAINING ORDER
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1    Microsoft Corporation of Activision Blizzard, Inc.; May 18, 2023 Draft Microsoft and Activision

2    Merger Inquiry Order; and the April 26, 2023 UK CMA Final Report on the Anticipated

3    Acquisition by Microsoft, May 5, 2023.

4           10.     Attached as Exhibit H is a true and correct copy of a Bloomberg article dated June

5    2, 2023, titled “Microsoft’s Smith Set for Talks With UK Chancellor Over Activision Deal Ban.”

6           11.     Attached as Exhibit I is a true and correct copy of Complaint Counsel’s Final

7    Proposed Exhibit List, dated May 19, 2023, In re Microsoft Corp. & Activision Blizzard, Inc.,

8    Docket No. 9412 (FTC).

9           12.     Attached as Exhibit J is a true and correct copy of an excerpt of the transcript of

10   the deposition of Microsoft Corporate Vice President of Gaming Ecosystem Partners Lori

11   Wright, dated April 7, 2023.

12          13.     Attached as Exhibit K is a true and correct copy of a document produced by

13   Microsoft during the Commission’s investigation of Microsoft’s proposed acquisition of

14   Activision, the first page of which bears Bates stamp MSFT-2R-08100157.

15          14.     Attached as Exhibit L is a true and correct copy of an excerpt of the May 5, 2021,

16   trial testimony of Microsoft executive Lori Wright in Epic Games, Inc., v. Apple, Inc., No. C-20-

17   5640 YGR (N.D. Cal.).

18          15.     Attached as Exhibit M is a true and correct copy of the Declaration of Phil Eisler,

19   Vice President and General Manager of GeForce NOW, NVIDIA’s cloud gaming business, dated

20   December 2, 2022.

21          16.     Attached as Exhibit N is a true and correct copy of an excerpt of the transcript of

22   the deposition of Jeff Fisher, Senior Vice President of NVIDIA, dated April 14, 2023.

23          17.     Attached as Exhibit O is a true and correct copy of an excerpt of the transcript of

24   the deposition of Armin Zerza, Chief Financial Officer of Activision Blizzard, Inc., dated April

25   6, 2023.

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     FLEURY DECL. IN SUPPORT OF PLAINTIFF’S EMERGENCY MOT. FOR A TEMP. RESTRAINING ORDER
     Case No. 3:23-cv-2880
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1           18.     Attached as Exhibit P is a true and correct copy of an excerpt of the transcript of

2    the investigational hearing of Christopher Schnakenberg, Senior Vice President, Global Platform

3    Strategy & Partner Relations at Activision Blizzard, Inc., dated September 23, 2022.

4           19.     Attached as Exhibit Q is a true and correct copy of excerpts of the transcripts of

5    the depositions of James Ryan, President & CEO of Sony Interactive Entertainment, dated April

6    6 and April 7, 2023. Mr. Ryan testified first in his personal capacity and then as corporate

7    representative of Sony Interactive Entertainment.

8           20.     Attached as Exhibit R is a true and correct copy of an excerpt of the transcript of

9    the investigational hearing of Microsoft Gaming CFO Tim Stuart, dated September 22, 2023.

10          21.     Attached as Exhibit S is a true and correct copy of an excerpt of the transcript of

11   the deposition of Jamie Leder, CEO & President at Zenimax Media (a subsidiary of Microsoft)

12   dated March 23, 2023.

13          22.     Attached as Exhibit T is a true and correct copy of the Declaration of Jim Ryan,

14   President & CEO of Sony Interactive Entertainment, dated December 5, 2022.

15          23.     Attached as Exhibit U is a true and correct copy of a document produced by

16   Microsoft during the Commission’s investigation of Microsoft’s proposed acquisition of

17   Activision, the first page of which bears Bates stamp MSFT-2R-01209234.

18          24.     Attached as Exhibit V is a true and correct copy of a document produced by

19   Microsoft during the Commission’s investigation of Microsoft’s proposed acquisition of

20   Activision, the first page of which bears Bates stamp MSFT-2R-05713141.

21          25.     Attached as Exhibit W is a true and correct copy of an excerpt of the transcript of

22   proceedings held on January 19, 2023 in Demartini v. Microsoft Corp., No. C22-08991 JSC

23   (N.D. Cal.).

24          26.     Attached as Exhibit X is a true and correct copy of an excerpt of the transcript of

25   the initial conference held on January 3, 2023, in In re Microsoft Corp. & Activision Blizzard,

26   Inc., Docket No. 9412 (FTC).

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     FLEURY DECL. IN SUPPORT OF PLAINTIFF’S EMERGENCY MOT. FOR A TEMP. RESTRAINING ORDER
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               Case 3:23-cv-02880-VC Document 10 Filed 06/12/23 Page 5 of 5




1            27.    Attached as Exhibit Y is a true and correct copy of a document produced by

2    Microsoft during the Commission’s investigation of Microsoft’s proposed acquisition of

3    Activision, the first page of which bears Bates stamp MSFT-2R-00529722.

4            28.    Attached as Exhibit Z is a true and correct copy of email correspondence between

5    the FTC and Defendants from May 24, 2023 to June 9, 2023.

6            29.    Attached as Exhibit AA is a true and correct copy of a document produced by

7    Microsoft during the Commission’s investigation of Microsoft’s proposed acquisition of

8    Activision, the first page of which bears Bates stamp MSFT-2R-05727022.

9            30.    Attached as Exhibit AB is a true and correct copy of a document produced by

10   Microsoft during the Commission’s investigation of Microsoft’s proposed acquisition of

11   Activision, the first page of which bears Bates stamp MSFT-2R-06118913.

12           31.    Attached as Exhibit AC is a true and correct copy of a document produced by

13   Microsoft during the Commission’s investigation of Microsoft’s proposed acquisition of

14   Activision, the first page of which bears Bates stamp MSFT-2R-02083357

15           32.    Attached as Exhibit AD is a true and correct copy of an excerpt of the transcript

16   of the deposition of Microsoft Gaming CFO Timothy Stuart, dated March 28, 2023.

17

18      I declare under penalty of perjury that the foregoing is true and correct. Executed on June 12,

19   2023.

20                                                     /s/ Jennifer Fleury
                                                       Jennifer Fleury
21

22                                     FILER’S ATTESTATION
23      I, James H. Weingarten, am the ECF User whose ID and password are being used to file this
24
     Declaration of Jennifer Fleury. In compliance with Civil Local Rule 5-1(h), I hereby attest that
25
     concurrence in the filing of this document has been obtained from the signatory.
26
                                                           By: /s/James H. Weingarten
27                                                             James H. Weingarten
28
     FLEURY DECL. IN SUPPORT OF PLAINTIFF’S EMERGENCY MOT. FOR A TEMP. RESTRAINING ORDER
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